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         In the United States Court of Federal Claims
                                        No. 11-377C
                                  (Filed: October 18, 2013)

                                            )
RALPH J. LAMSON,                            )
                                            )
                     Plaintiff,             )
                                            )
v.                                          )
                                            )
THE UNITED STATES,                          )
                                            )
                     Defendant.             )
                                            )
                                            )


                                         ORDER

        Plaintiff’s unopposed motion, filed October 17, 2013, to suspend its response to
defendant’s motion for summary judgment, currently due October 18, 2013, until after
the status conference scheduled on October 31, 2013 is GRANTED. Accordingly,
briefing on defendant’s motion for summary judgment is temporarily suspended.

       IT IS SO ORDERED.



                                                          s/Nancy B. Firestone
                                                          NANCY B. FIRESTONE
                                                          Judge
